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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

         v.                                                   Criminal No. 21-0060 (CKK)
 JESUS RIVERA,

    Defendant.


                                            ORDER
                                       (December 27, 2021)

         This matter comes before the Court on Defendant’s [28] Unopposed Motion for
Continuance. On December 17, 2021, the parties submitted a [26] joint proposed scheduling
order. The parties did not offer a proposed trial date; rather, the parties proposed deadlines tied
to a date that the Court would choose. Moreover, the parties’ submission offered no specific date
for any event. Because the earliest proposed deadline would have occurred ninety days prior to a
trial date, the Court set a trial date that would accommodate the ninety days that, from the face of
their joint proposal, the parties would require to be ready for trial. As the Court’s [27] Order
explains, trial scheduling during the present pandemic is complicated by safety and logistical
issues throughout the Courthouse. The District Court prefers that voir dire be conducted in the
Ceremonial Courtroom so as to ensure six feet of distancing between members of the venire.
The Court further coordinates with District Court staff to reserve the few courtrooms that can
function as overflow rooms with videoconferencing ability. Additionally, the Court
communicates with the Jury Office to ensure an adequate number of jurors can be called for any
given date.

        In Defendant’s [28] Unopposed Motion, the parties now propose a specific trial date, the
first week of June, and offer the Court some idea of the parties’ availability through the first half
of 2022. The parties shall note that a trial date the first week of June poses some challenges and
may or may not be feasible for the Court. The Court advises the parties that the purpose of the
proposed pretrial scheduling order is to afford the parties the opportunity to select dates that are
tenable for them. As such, the Court does not expect the parties to move for relief from a
schedule of their own making. Accordingly, it is hereby

     ORDERED, that Defendant’s [28] Unopposed Motion for Continuance is GRANTED
IN PART AND DENIED IN PART. It is further

       ORDERED, that the [27] Pretrial Scheduling Order is VACATED. It is further

       ORDERED, that the parties shall submit a joint proposed pretrial scheduling order, on or
before January 5, 2022, listing a specific trial date and a specific date for each event. If the
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parties jointly consider a particular event to be irrelevant to this case, they may mark it “N/A.”
The parties are advised to coordinate, for example, which motions they intend to file in advance
of trial and what period of time the parties would require to cross-brief those motions. It is
further

        ORDERED, that, on or before January 5, 2022, defense counsel and Government
counsel shall both advise Chambers, by email, of their availability for a one- to two-week trial in
this case through the end of 2022.

       SO ORDERED.

Dated: December 27, 2021                                    /s/
                                                     COLLEEN KOLLAR-KOTELLY
                                                     United States District Judge
